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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                FLORENCE DIVISION

ALEXIS DEGIDIO, individually and on behalf           )
of all others similarly situated,                    )
                                                     )
                      Plaintiff,                     )      Case No. 4:13-cv-02136-BHH
                                                     )
       v.                                            )
                                                     )
CRAZY HORSE SALOON AND                               )
RESTAURANT, INC., d/b/a THEE NEW                     )
DOLLHOUSE,                                           )
                                                     )
                      Defendant.                     )


                                    NOTICE OF APPEAL


       NOTICE is hereby given that Defendant, Crazy Horse Saloon and Restaurant, Inc. d/b/a

Thee New Dollhouse (“Defendant”) pursuant to 9 U.S.C. § 16(a)(1)(B) appeals to the United

States Court of Appeals for the Fourth Circuit from the Order Denying Defendant’s Motion to

Dismiss Claims of Opt-Ins to Conditionally Certified FLSA Action and Compel Arbitration (D.E.

#166), entered in this matter on January 26, 2017.




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Dated:   February 1, 2017                         Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of February, 2017, the forgoing was filed electronically
with the Clerk of the Court to be served by operation of the Court’s electronic filing system upon
T. Christopher Tuck, ctuck@rpwb.com, RICHARDSON, PATRICK, ESTBROOK &
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